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7                                    UNITED STATES DISTRICT COURT
8                                   SOUTHERN DISTRICT OF CALIFORNIA
9                                    (HONORABLE M. JAMES LORENZ)
10

11 UNITED STATES OF AMERICA,                          )     Case No. 08cr2559-4-L
                                                      )
12                  Plaintiff,                        )
                                                      )
13 v.                                                 )     ORDER RESCHEDULING DATE OF
                                                      )     THE SENTENCING HEARING
14                                                    )
     MARIO FLORES-ARAUJO, (4)                         )
15                                                    )
                    Defendant.                        )
16                                                    )
17
                    GOOD CAUSE APPEARING, IT IS HEREBY ORDERED that the sentencing hearing set
18
     for March 2, 2009, at 8:30 a.m. be rescheduled to April 27, 2009, at 8:30 a.m.
19
                    SO ORDERED.
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21 DATED: February 26, 2009

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                                                            M. James Lorenz
23                                                          United States District Court Judge
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